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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x                                               11/15/2021
CISCO SYSTEMS, INC.                 :
                                    :
                     Plaintiff,     :                      Civ. A. No. 1:20-CV-10879-LTS-SN
     -against-                      :
                                    :                              PROTECTIVE ORDER
SYNAMEDIA LTD. F/K/A TRITON UK BIDCO:
LIMITED                             :
                                    :
                     Defendant.     :
                                    :
------------------------------------x

       The parties having agreed to the following terms of confidentiality, and the Court having

found that good cause exists for issuance of an appropriately-tailored confidentiality order

governing the pre-trial phase of this action, it is therefore hereby

       ORDERED that any person subject to this Order -- including without limitation the parties

to this action, their representatives, agents, experts and consultants, all third parties providing

discovery in this action, and all other interested persons with actual or constructive notice of this

Order -- shall adhere to the following terms, upon pain of contempt:

       1.      Any person subject to this Order who receives from any other person any

“Discovery Material” (as defined in Paragraph 2 below) that is designated as “Confidential” or

“Highly Confidential” pursuant to the terms of this Order shall not disclose such Confidential or

Highly Confidential Discovery Material to anyone else except as expressly permitted hereunder.

Confidential or Highly Confidential Discovery Material shall be used solely for the purposes of

this litigation and for no other purpose, subject to further order of the Court. The restrictions on

the use and disclosure of Confidential or Highly Confidential Discovery Material shall also apply

to any and all copies of documents containing Confidential or Highly Confidential Discovery




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Material, any information obtained from such documents, and descriptions, summaries or

characterizations of such documents.

        2.      Discovery Material. The term “Discovery Material” means any information of

any kind provided in the course of discovery in this action, including but not limited to: (a) all

documents; (b) electronically stored information; (c) any and all other taped, recorded, filmed,

written or typed matters of any kind or descriptions, including the originals and all non-identical

copies, whether different from the originals by reason of any notation made on such copies or

otherwise; (d) all interrogatory answers, answers to requests for admissions and deposition

transcripts or recordings; and (e) any physical objects, samples, or other items, and which

constitute, contain or disclose, in whole or in part, information which the designating party deems

to be confidential, non-public information.

        3.      Confidential Discovery Material. The person producing any given Discovery

Material may designate as Confidential any material or portion of such material that is not

generally known and which that party would normally not reveal to third parties or, if disclosed,

would require such third parties to maintain in confidence. Confidential Discovery Material

includes, but is not limited to:

                a.      information prohibited from disclosure by statute;

                b.      information produced pursuant to third-party confidentiality obligations;

                c.      research, technical, commercial or financial information that the party has

maintained as confidential;

                d.      business records and related communications;

                e.      agreements to resolve disputes or settlement agreements and related

communications;



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               f.     confidential research, development or commercial information;

               g.     tax ID or other identifying numbers subject to identity fraud;

               h.     competitive information;

               i.     any information of a personal or intimate nature regarding any individual;

               j.     any other proprietary or confidential business information; or

               k.     any other category of information hereinafter given confidential status by

the Court.

       4.      Highly Confidential Discovery Material.        The person producing any given

Discovery Material may designate as Highly Confidential any material or portion of such material

when such party or person in good faith believes that the Discovery Material describes, discloses

or comprises trade secrets, information that is not generally known to competitors and derives its

value from being confidential, information considered by that party to be highly confidential, and

other highly sensitive information that cannot be adequately protected with the Confidential

designation.

       5.      Designation. With respect to any Confidential or Highly Confidential Discovery

Material other than deposition transcripts, recordings and exhibits, the producing person or that

person’s counsel may designate such material or portion thereof as “Confidential” or “Highly

Confidential” by stamping or otherwise clearly marking as “Confidential” or “Highly

Confidential” the protected Discovery Material in a manner that will not interfere with legibility

or audibility. In addition, with respect to electronically stored information (“ESI”) produced in

non-native electronic formats (such as single-page TIFF files), the producing person shall mark

each page of the protected Discovery Material as “Confidential” or “Highly Confidential,” and

with respect to ESI produced in native file formats, the producing party shall mark as



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“Confidential” or “Highly Confidential” a slipsheet and/or the exterior of the produced media

containing the Confidential or Highly Confidential Discovery Material. With respect to deposition

transcripts, recordings and exhibits, a producing person or that person’s counsel may indicate on

the record or in writing to the reporter within 30 days after receiving the final transcript that a

question or questions calls for Confidential or Highly Confidential information, in which case the

transcript of the designated testimony shall be bound in a separate volume and marked

“Confidential Information Governed by Protective Order” or “Highly Confidential Information

Governed by Protective Order” by the reporter.

       6.      Inadvertent Failure to Designate. An inadvertent failure to designate a document

as Confidential or Highly Confidential does not, standing alone, waive the right to so designate

any such Discovery Material. A party may designate any document mistakenly produced without

a Confidential or Highly Confidential designation upon written notice and within ten (10) days of

the party’s knowledge that the documents should be subject to this Order. Provided that the

producing party provides such notice as required by this paragraph, the inadvertent failure to

designate shall not be deemed a waiver, in whole or in part, of the producing party’s claim of

confidentiality with respect to the Discovery Material disclosed, and disclosure of Confidential or

Highly Confidential Discovery Material prior to designation is not a violation of this Order. If a

party designates a document as Confidential or Highly Confidential after it was initially produced,

the receiving party, on notification of the designation, must make reasonable efforts to assure that

the Discovery Material is treated in accordance with the provisions of this Order. No party shall

be found to have violated this Order for failing to maintain the confidentiality of material during a

time when that material has not been designated Confidential or Highly Confidential, even where




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the failure to so designate was inadvertent and where the material is subsequently designated

Confidential or Highly Confidential.

        7.      Disclosure of Confidential and Highly Confidential Discovery Material. No

person subject to this Order other than the producing person shall disclose or permit the disclosure

of any Confidential or Highly Confidential Discovery Material to any third person or entity except

as set forth in subparagraphs (a)–(i). No person subject to this Order other than the producing

person shall disclose any or permit the disclosure of any Highly Confidential Discovery Material

to any third person except as set forth in subparagraphs (a), (c)–(i).:

                a.      Counsel. Counsel for the parties and employees of counsel who have

responsibility for the action;

                b.      Parties. Individual parties and employees of a party but only to the extent

counsel determines in good faith that the employee’s assistance is reasonably necessary to the

conduct of the litigation in which the information is disclosed;

                c.      The Court and its personnel.

                d.      Court Reporters and Recorders. Court reporters, stenographers and

recorders engaged to transcribe depositions conducted in this action;

                e.      Contractors. Those persons specifically engaged for the limited purpose

of making copies of documents or organizing or processing documents, including outside vendors

hired to process electronically stored documents;

                f.      Consultants and Experts. Consultants, investigators, or experts employed

by the parties or counsel for the parties to assist in the preparation and trial of this action but only

after such persons have completed the certification contained in Attachment A, Acknowledgment

of Understanding and Agreement to Be Bound;




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               g.     Witnesses at Depositions. During their depositions, witnesses in this

action to whom disclosure is reasonably necessary. Witnesses shall not retain a copy of documents

containing Confidential or Highly Confidential Discovery Material, except witnesses may receive

a copy of all exhibits marked at their depositions in connection with review of the transcripts.

Pages of transcribed deposition testimony or exhibits to depositions that are designated as

Confidential or Highly Confidential Discovery Material information pursuant to the process set

out in this Order must be separately bound by the court reporter and may not be disclosed to anyone

except as permitted under this Order.

               h.     Author or Recipient. The author or recipient of the document (including

its author, its addressee, and any other person indicated on the face of the document as having

received a copy but not including a person who received the document in the course of litigation);

               i.     Others by Consent.        Other persons only by written consent of the

producing party or upon order of the Court and on such conditions as may be agreed or ordered.

       8.      Prior to any disclosure of any Confidential or Highly Confidential Discovery

Material to any person referred to in subparagraphs 5(f) or 5(i) above, such person shall be

provided by counsel with a copy of this Protective Order and shall sign an Acknowledgment and

Agreement to Be Bound annexed as an Attachment A hereto stating that that person has read this

Order and agrees to be bound by its terms. Said counsel shall retain each signed Acknowledgment

and Agreement to Be Bound, hold it in escrow, and produce it to opposing counsel either prior to

such person being permitted to testify (at deposition or trial) or at the conclusion of the case,

whichever comes first.

       9.      Filing of Confidential and Highly Confidential Discovery Material. This order

does not authorize the filing of any documents under seal. Documents may be sealed only if



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authorized by statute, rule, or order of the Court. A party seeking to have filed under seal any

paper or other matter in this case must comply with Rule 5(b)(ii) of Judge Swain’s Individual

Practices and/or Rule 3(f) of Judge Netburn’s Individual Practice, as applicable. The parties will

use their best efforts to minimize such sealing.

       10.     Notice to Designating Party. Any party, other than the designating party, that

anticipates filing any material that has been designated as Confidential Information or Highly

Confidential – Outside Counsel Only must provide reasonable notice to the designating party of

the proposed filing, so that the designating party will have ample time, if it so desires, to file a

motion for leave to file the material in question under seal. The parties then shall meet and confer

in connection with any anticipated motion for an order authorizing the filing of Confidential or

Highly Confidential Discovery Material under seal, in a good faith attempt to reach an agreement

regarding whether the Confidential or Highly Confidential Discovery Material should be filed

under seal. See Judge Swain Individual Practices, Rule 5(b)(ii); Judge Netburn’s Individual

Practice, Rule 3(f). If an agreement is reached, the party seeking leave to file sealed or redacted

documents will state that its request is on consent, in conformance with Rule 5(b)(ii) of Judge

Swain’s Individual Practices and/or Rule 3(f) of Judge Netburn’s Individual Practice, as

applicable. If an agreement is not reached, then the designating party may file a motion in

compliance with Rule 5(b)(ii) of Judge Swain’s Individual Practices and/or Rule 3(f) of Judge

Netburn’s Individual Practice, as applicable. If the motion is denied, the party may file the

material, but not under seal.

       11.     Challenges by a Party to Designation as Confidential or Highly Confidential.

Any party who either objects to any confidentiality designation, or who, by contrast, requests still

further limits on disclosure (such as “attorneys’ eyes only” in extraordinary circumstances), may



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at any time prior to the trial of this action serve upon counsel for the designating person a written

notice stating with particularity the grounds of the objection or request. If agreement cannot be

reached within five (5) business days of receipt of the objecting party’s letter, the designating party

will follow Judge Netburn’s Individual Practice Rule 2(C) for raising discovery disputes with the

Court to obtain a ruling.

       12.     Control of Documents. Each person who has access to Discovery Material that

has been designated as Confidential or Highly Confidential shall make reasonable efforts to

prevent the unauthorized or inadvertent disclosure of such material. Counsel shall maintain copies

of the forms signed by persons acknowledging their obligations under this Order for a period of

three years after the termination of the case.

       13.     Discovery from Third Parties. This Protective Order shall apply to discovery

sought from persons or companies who are not parties to this lawsuit. Third parties may designate

information produced under the “Confidential” or “Highly Confidential” designation.

       14.     No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that it

requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection. Notwithstanding the foregoing, to the extent any document

contains sensitive information and information requiring caution as described in the Rule 5(b)(i)

of Judge Swain’s Individual Practices (“Sensitive Information”), the parties may redact Sensitive

Information without seeking a prior court order.

       15.     Clawback. If, in connection with this litigation, a party inadvertently discloses

information subject to a claim of attorney-client privilege or attorney work product protection

(“Inadvertently Disclosed Information”), such disclosure shall not constitute or be deemed a



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waiver or forfeiture of any claim of privilege or work product protection with respect to the

Inadvertently Disclosed Information and its subject matter. The disclosing party shall, within

twenty-one (21) days of discovering the inadvertent disclosure, give notice to the receiving party

in writing of the disclosing party’s claim of privilege or protection from discovery. The receiving

party then shall promptly return, sequester, or destroy the Inadvertently Disclosed Information;

must not use or disclose the Inadvertently Disclosed Information until the privilege or protection

claim is resolved; must take reasonable steps to retrieve the Inadvertently Disclosed Information

if the receiving party disclosed it before being notified; and may promptly present the Inadvertently

Disclosed Information to the court under seal for a determination of the claim. The disclosing party

must preserve the information until the claim is resolved.

       Inadvertent or unintentional production may not be deemed a waiver in whole or in part of

the disclosing party’s claim of privilege or immunity from discovery either as to specific

documents and information disclosed or on the same or related subject matter based on the facts

constituting the inadvertent production. This provision is, and shall be construed as, an Order under

Rule 502(d) of the Federal Rules of Evidence. Accordingly, as is explicitly set forth in Rule 502(d),

a Party’s production of documents, whether inadvertent or intentional, is not a waiver of any

privilege or protection “in any other federal or state proceeding.” Fed. R. Evid. 502(d).

       16.     Confidential Information Subpoenaed or Ordered Produced in Other

Litigation. If a receiving party is served with a subpoena or an order issued in other litigation that

would compel disclosure of any material or document designated in this action as Confidential or

Highly Confidential, the receiving party must notify the designating party in writing promptly and

in no event more than three court days after receiving the subpoena or order. Such notification

must include a copy of the subpoena or court order. The receiving party also must promptly inform




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in writing the party who caused the subpoena or order to issue in the other litigation that some or

all of the material covered by the subpoena or order is the subject of this Order. In addition, the

receiving party must deliver a copy of this Order promptly to the party in the other action that

caused the subpoena to issue. The purpose of imposing these duties is to alert the interested

persons to the existence of this Order and to afford the designating party in this case an opportunity

to try to protect its Confidential or Highly Confidential Discovery Material in the court from which

the subpoena or order issued. The designating party shall bear the burden and the expense of

seeking protection in that court of its Confidential or Highly Confidential Discovery Material, and

nothing in these provisions should be construed as authorizing or encouraging a receiving party in

this action to disobey a lawful directive from another court. The obligations set forth in this

paragraph remain in effect while the party has in its possession, custody or control Confidential or

Highly Confidential Discovery Material by the other party to this case.

        17.     Obligations on Termination of Litigation.

                (a)    Order Continues in Force. Unless otherwise agreed or ordered, this Order

shall remain in force after dismissal or entry of final judgment not subject to further appeal.

                (b)    Obligations at Conclusion of Litigation. Within ninety (90) days after

dismissal or entry of final judgment not subject to further appeal, all Discovery Material and

documents marked Confidential or Highly Confidential under this Order shall be returned to the

producing party unless: (1) the document has been offered into evidence or filed without

restriction as to disclosure; (2) the parties agree to destruction to the extent practicable in lieu of

return; or (3) as to documents bearing the notations, summations, or other mental impressions of

the receiving party, that party elects to destroy the documents and certifies to the producing party

that it has done so.




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               (c)     Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

attorney work product, including an index that refers or relates to Discovery Material designated

Confidential or Highly Confidential so long as that work product does not duplicate verbatim

substantial portions of Confidential or Highly Confidential Discovery Material, and (2) one

complete set of all documents filed with the Court including those filed under seal. Any retained

Confidential or Highly Confidential Discovery Material shall continue to be protected under this

Order. An attorney may use his or her work product in subsequent litigation, provided that its use

does not disclose or use Confidential or Highly Confidential Discovery Material.

               (d)     Deletion of Documents filed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of the

Court.

         18.   No Prior Judicial Determination.            This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery. Nothing

herein shall be construed or presented as a judicial determination that any document or material

designated Confidential or Highly Confidential by counsel or the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court

may rule on a specific document or issue.

         19.   This Court shall retain jurisdiction overall persons subject to this order to the extent

necessary to enforce any obligations arising hereunder or to impose sanctions for any contempt

thereof.



Dated: November 10, 2021                               Respectfully Submitted,



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 /s/ Christopher J. Letkewicz                      /s/ Rebecca L. Martin
 J. Erik Connolly (admitted pro hac vice)          Matthew D. Parrott
 Christopher J. Letkewicz (admitted pro hac        Rebecca L. Martin
 vice)                                             FRIED, FRANK, HARRIS, SHRIVER &
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 Attorneys for Plaintiff Cisco Systems, Inc.


SO ORDERED.




Date: November 15, 2021
      New York, New York




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                                      ATTACHMENT A

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
CISCO SYSTEMS, INC.                 :
                                    :
                     Plaintiff,     :                   Civ. A. No. 1:20-CV-10879-LTS-SN
     -against-                      :
                                    :
SYNAMEDIA LTD. F/K/A TRITON UK BIDCO:
LIMITED                             :
                                    :
                     Defendant.     :
                                    :
------------------------------------x

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Agreed Protective Order

dated ____________________________ in the above-captioned action and attached hereto,

understands the terms thereof, and agrees to be bound by its terms.

        The undersigned submits to the jurisdiction of the United States District Court for the

Southern District of New York in matters relating to the Agreed Protective Order and understands

that the terms of the Agreed Protective Order obligate him/her to use materials designated as

Confidential Information or Highly Confidential – Outside Counsel Only in accordance with the

Order solely for the purposes of the above-captioned action, and not to disclose any such

Confidential Information or Highly Confidential – Outside Counsel Only to any other person, firm

or concern.

        The undersigned acknowledges that violation of the Agreed Protective Order may result in

penalties for contempt of court.

Name:          ______________________________________

Job Title:     ______________________________________


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Employer:   ______________________________________

Business Address: ___________________________
                    ___________________________
                    ___________________________




Date: _________________              ___________________________
                                     Signature




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